           Case 3:12-cr-01930-AJB                       Document 69                Filed 04/27/15              PageID.218              Page 1 of 5

     fQ,AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                              UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                                           (       '" . '

                     UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A                              C-;'MI~ CAsif'"
                                         V.                                            (For Revocation of Probation or Supervised Release)
                  ANTHONY JAMES MCGAFF (02)                                            (For Offenses Committed On or After November I, 1987)


                                                                                       Case Number: 12CR1930-AJB

                                                                                       Charles LRees
                                                                                       Defendant's Attorney
    REGISTRATION No. 31996298
~ Modificiation of term oflocation monitoring with curfew imposed.
    THE DEFENDANT:
     o  admitted guilt to violation of aHegation(s) No,--=:O::n~e:."""T..:;w:;:o:."""T..:;hr;::e~e:.""Fo:ou=r,-,a::n~d,-,F,-,ic:v,:::e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation ofallegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number              Nature of Violation
            I         Failure to be truthful and/or follow instructions (nv8)
            2         Unlawful use of controlled substance (nv3)
            3         Comply with all lawful rules of the probation departtnent (nvla)
            4         Unlawful use of controlled substance (nv3)
            5         Failure to participate in mental health (reatment (nv22)



      Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                             5       of this judgment.
   This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


            IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
   change of name, residence, or mailing address until all fines, restitution, costs, and Special assessments imposed by this judgment are
   fully paid, If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
   defendant's economic circumstances.

                                                                                       April 10, 2015




                                                                                                                                                  12CR1930-AJB
          Case 3:12-cr-01930-AJB                       Document 69           Filed 04/27/15        PageID.219          Page 2 of 5
AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                     Judgment - Page __2;;....._ of    5
 DEFENDANT: ANTHONY JAMES MCGAFF (02)
 CASE NUMBER: 12CR1930-AJB
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          THREE (3) MONTHS




      o The court makes the following recommendations to the Bureau of Prisons:

      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall sUITender to the United States Marshal for this district:
            Oat                                       Oa.m.          Op.m.    on
                as notified by the United States Marshal.

      o The defendant shall sUITender for service of sentence at the institution designated by the Bureau of Prisons:
         o before --------------------------------------------------------------
         o as notified by the United Stales Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                         to

 at                                                       with a certified copy ofthis judgment.


                                                                                                   UNITED STATES MARSHAL


                                                                             By ________~~~~~~~~~~--------
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                                12CR1930-AJB
  , ",       Case 3:12-cr-01930-AJB                   Document 69              Filed 04/27/15           PageID.220            Page 3 of 5
AO 245D (CASD) (Rev. 4/14) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                                 Judgment-Page        3     of        5
DEFENDANT: ANTHONY JAMES MCGAFF (02)
CASE NUMBER: 12CR1930-AJB
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIFTY-SEVEN (57) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release £I'om
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
         The defendant shall comply with me requirements ofthe Sex Offender Registration ana Notification Act (42 U.s.C. § 16901, et seq.) as directed
         by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
         was convicted ofa qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                          ST ANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                          12CR1930-AJB
                Case 3:12-cr-01930-AJB                      Document 69          Filed 04/27/15   PageID.221          Page 4 of 5
        AO 245D (CASD) (Rev. 4/14) Judgment in a Criminal Case for Revocations
                   Sheet 4 - Special Conditions
                                                                                                        Judgment-Page ----i...- of _-,,-5_ _
        DEFENDANT: ANTHONY JAMES MCGAFF (02)                                                       o
        CASE NUMBER: l2CR1930-AJB




                                                SPECIAL CONDITIONS OF SUPERVISION
Igj Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or media, and
    effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning a
    violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful discharge ofthe officer's duties. 18
    U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

D If depOlted, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntaty departure.
~ Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed by the COUlt.
~ Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or counseling setting.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written pennission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
~ Not accept or commence employment or volunteer activity without prior approval ofthe probation officer, and employment should be subject
    to continuous review and assessment by the probation officer.




~ Reside in residence approved in advance by the probation officer and any changes in residence shall be pre-approved by the probation officer.

~ Curfew 7:00 p.m. to 6:00 a.m. as directed by the Probation Officer.
~ Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third-party
  communication, with the victim or victim's family, without prior approval ofthe probation officer.

D
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
  probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to
  contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

~ Not have unsupervised contact with any child under the age ofi8,ulllessin tile presence ofa supervising adult (who is aware ofthe
    defendant's deviant sexual behavior and conviction), and with the prior approval ofthe.probation officer.




                                                                                                                                    l2CR1930-AJB
;,   .'      Case 3:12-cr-01930-AJB                    Document 69   Filed 04/27/15     PageID.222         Page 5 of 5



          AO 245B     (Rev. 2010) Judgment in a Criminal Case
                      Sheet 3 - Continued 2 - Supervised Release

                                                                                        Judgment-Page      5    of        5
          DEFENDANT: ANTHONY JAMES MCGAFF (02)
          CASE NUMBER: 12CR1930-AJB-02

                                            SPECIAL CONDITIONS OF SUPERVISION

           Be monitored for a period of (4) months, with the location monitoring technology at the discretion of the
           probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
           participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
           other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
           below:

           o        You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _ . (Curfew)

           Ixl You are restricted to your residence every day from _ _7_:0_0-"p_m_ _ to _ _6_:0_0_a_m_ _ as directed by the
                probation officer. (Curfew)

           o    You are restricted to your residence at all times except for employment; education; religious services;
                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
                obligations; or other activities as pre-approved by the probation officer. (Home Detention)

           o    You are restricted to your residence at all times except for medication necessities and court appearances or
                other activities specifically approved by the court. (Home Incarceration)

            Be monitored while under supervision with location monitoring technology at the discretion of the
            probation officer, which shall be utilized for the purposes ofveriiYing compliance with any comt-imposed
            condition of supervision. The offender shall pay all or palt of the costs of location monitoring based upon
            their ability to pay as directed by the court and/or probation officer.
